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                         22-12902
__________________________________________________________


       United States Court of Appeals
                          for the Eleventh Circuit

KEBIN VALENTIN A/K/A KEVIN VALENTIN, MATTHEW VALENTIN, and
                    ANABELY ACEVEDO,

                                                          Plaintiffs – Appellants,

                                     v.

  RMRP REALTY, LLC; 1245, LLC; T.J.F. REALTY CORP.; RONALD T.
 FATATO, RONALD J. FATATO, and INTER STATE SALES CORP. D/B/A
                  INTERSTATE SALES CORP.,

                                                        Defendants – Appellees.

                        __________________________

       APPEAL FROM THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF FLORIDA
          CASE NO.: 0:20-cv-62263-AHS (Hon. Raag Singhal)
                 __________________________

                        BRIEF OF APPELLEES
                        __________________________

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                CERTIFICATE OF INTERESTED PERSONS
                   AND CORPORATE DISCLOSURE

      1.    Singhal, Raag, United States District Court Judge

      2.    Valle, Alicia O., United Stated Magistrate Judge

      3.    Valentin, Kebin a/k/a Kevin, Appellant

      4.    Valentin, Matthew David, Appellant

      5.    Acevedo, Anabely, Appellant

      6.    Kozolchyk, Elliot A., Counsel for Appellants

      7.    Koz Law, P.A., Counsel for Appellants

      8.    RMRP Realty, LLC, Appellee

      9.    1245, LLC, Appellee

      10.   T.J.F. Realty Corp., Appellee

      11.   Fatato, Ronald T., Appellee

      12.   Fatato, Ronald J., Appellee

      13.   Inter State Sales Corp. d/b/a Interstate Sales Corp., Appellee

      14.   Amit, Adi, Counsel for Appellees

      15.   Alexandra R.F. Scala, Former Counsel for Appellees

      16.   Adi Amit, P.A., Counsel for Appellees

      RMRP Realty, LLC; 1245, LLC; T.J.F. Realty Corp; and Inter State Sales

Corp. have no parent corporations and there are no publicly held corporations that

own 10% or more of their stock.
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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on January 11, 2023, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF. I also certify that

the foregoing document is being served this day on all counsel of record via

transmission of Notices of Electronic Filing generated by CM/ECF.

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             STATEMENT REGARDING ORAL ARGUMENT

      Appellees respectfully do not request that an oral hearing be held in this

matter.




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  I.      STATEMENT OF THE ISSUES

   Whether the District Court erred in finding that Plaintiffs did not come

       forward, or satisfied their burden, to demonstrate a material issue of genuine

       fact as to their direct participation in interstate commerce under the

       “individual coverage” theory of the FLSA.

   Whether the District Court erred in finding that Plaintiffs did not come

       forward, or satisfied their burden, to demonstrate a material issue of genuine

       fact as to the existence of FLSA coverage under the “enterprise coverage”

       theory.




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   II.      STATEMENT OF THE CASE

   a. Procedural History

         On November 5, 2020, Plaintiffs filed their Complaint against Defendants for

alleged violations of the Fair Labor Standards Act of 1938 (“FLSA”), 29 U.S.C.

§201, et seq., alleging that they were not paid proper overtime and minimum wages.

During the pendency of the case in the lower tribunal, Plaintiffs never amended or

sought leave to amend their Complaint to add or change their FLSA coverage

allegations, other than what had been alleged in Paragraph 3 of their Complaint.

         By an Order dated July 29, 2022 [DE 82], the district court granted summary

judgment in favor of the Defendants, after the Parties completed their discovery and

after the issue of Plaintiffs’ coverage under the FLSA had been fully briefed by the

parties. In its Order, the Court found the following:

             Plaintiff, Kebin Valentin did not come forward with evidence beyond

               mere speculation, that, as a part of his work duties, he repeatedly

               traveled to and from Defendants’ job sites outside of Florida or used an

               item moving in interstate commerce. Id. at p. 12.

             Plaintiff Kebin Valentin did not make a showing that he directly

               engaged in interstate commerce as a part of his responsibilities and,

               thus, cannot survive summary judgment on this record. Id. at p. 13.




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            Plaintiffs failed to provide any concrete evidence that Defendants had

              gross sales of at least $500,000 in any one year. Id. at p. 14.

            Plaintiffs failed to provide any concrete evidence that Defendants had

              gross cumulative sales of at least $500,000 in any one year. Id. at p. 16.

   b. Statement of Relevant Facts on Appeal

        On November 5, 2020, Kebin Valentin, his wife, Anabely Acevedo, and their

son, Matthew David Valentin filed a one-count Complaint against Defendants

RMRP Realty, LLC, 1245, LLC, T.J.F. Realty Corp., Inter State Sales Corp., Ronald

T. Fatato, and Ronald J. Fatato, alleging that they are owed overtime and minimum

wages under the FLSA. DE 1

        RMRP Realty, LLC, a Florida limited liability company, owns eight

apartments located in two adjacent buildings in Coral Springs, Florida. DE 45 at

¶¶3-4

        T.J.F. Realty Corp., a New Jersey corporation, owns a warehouse row in

Oakland Park, Florida, which consists of seven warehouses. DE 45 at ¶¶12–13 T.J.F.

Realty Corp. also owns one single unit family townhouse in Fort Lauderdale,

Florida. DE 45 at ¶14 T.J.F. Realty Corp. has no customers outside Florida and all

“its customers were tenants in the seven storage/warehouse units and the residential

unit.” DE 45 at ¶16




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      Interstate Sales Corp., a New Jersey corporation, does not own any property

in Florida. DE 45 at ¶22. None of the Plaintiffs ever provided any services or work

for Interstate Sales Corp. as it has no properties in Florida. DE 45 at ¶28

      1245, LLC, a Florida limited liability company, owned one property in Florida

during the relevant period, a condominium unit and personal investment of

Defendant Ronald T. Fatato in West Palm Beach, Florida, which was sold on May

15, 2018. DE 45 at ¶¶29–32

      The gross revenue for the entity Defendants in each of the relevant years of

2017, 2018, 2019, and 2020 did not reach or exceed $500,000.00, even when

combined. DE 45-1 at ¶¶10-13 (as to RMRP, Realty, LLC), DE 45-1 at ¶¶21-24 (as

to T.J.F. Realty Corp.), DE 45-2 at ¶¶5-8 (as to Interstate Sales Corp.), and DE 45-

1 at ¶¶31-34 (as to 1245, LLC), as well as the income tax returns for each of these

entities (DE 45-1, at pp. 21, 35, 49, 83, 113, 132, 157, 179, 197, 200; and DE 45-2,

at pp 27, 28, 69)

      Plaintiff Kebin Valentin solely communicated and reported to Defendant

Ronald T. Fatato DE 45 at ¶47; see also DE 73 at ¶54; DE 66-1 at pp. 12-70; 79;

94-97; 101-125; 140-149

      Plaintiffs resided in one of the eight apartments RMRP Realty, LLC owned in

Coral Springs, Florida. DE 45 at ¶38 Plaintiff Kebin Valentin was hired to provide

light maintenance services in the eight apartments RMRP Realty, LLC owned in


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Coral Springs, Florida. His regular and recurrent tasks consisted of light repairs and

cleaning, patching holes, occasional painting, walking the small grounds and picking

up litter, maintaining the lawn every other week and making sure the property was

in good order. On occasion, he was tasked with preparation of apartments for new

tenants; however, this was done seldomly because it happened only at expiration of

leases on one of the seven apartments in which he and his family did not reside. DE

45 at ¶40 In 2017, Plaintiff Kebin Valentin was also hired by T.J.F. Realty Corp. to

provide light maintenance at the seven warehouse units it owned until 2019. DE 45

at ¶¶42, 45 The tasks for T.J.F. Realty Corp. included walking the small grounds of

the common area along the rear and one side of the building, picking up litter, pulling

weeds, and reporting to Ronald T. Fatato if there were any issues. DE 45 at ¶43

      Kebin Valentin’s regular and recurrent work-related communications with

RMRP Realty, LLC and T.J.F. Corp. were with Ronald T. Fatato and were

conducted in person or by telephone. DE 45 at ¶46. See also DE 66-1 at pp. 12-70;

79; 94-97; 101-125; 140-149

      Ronald T. Fatato resided and worked in South Florida, managing the affairs

of RMRP Realty, LLC and T.J.F. Realty Corp. in 2017, 2018, 2019, and 2020. DE

45 at ¶47

      Even Kebin Valentin’s invoices for payment by the Defendants were

forwarded by Ronald T. Fatato to Tony in the New York Office because Plaintiff did


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not communicate directly with Tony on a regular and recurrent basis. DE 66-1 at pp.

80-93; 98-100

      On Summary Judgment, aside from one instance in which Ronald T. Fatato

asked Kebin Valentin specifically to contact Tony in New York regarding his pay

(DE 66-1 at p. 25) and one instance in which Kebin Valentin asked whether he

should call Tony regarding his pay (DE 66-1 at p. 102), Appellants have provided

no evidence of any direct communications between any of them and Defendants’

New York office, despite providing dozens of pages of text messages and emails

between Kebin Valentin and Ronald T. Fatato in Florida. Likewise, Appellants did

not provide any telephone records to show that regular and recurrent

communications between them and the New York office ever occurred.

      In their Brief, Appellants state: “Notably, Plaintiffs produced an envelope

from Defendants with postage indicating that it was mailed from zip code 11217,

which is in Brooklyn, New York” and direct the Court to an image of an envelope

also provided to the district court in DE 66-1 at p. 132. However, contrary to

Appellants’ representation in their Brief, the envelope is not from any of the

Defendants, but from Thomas Fatato Realty Corp. – a non-Defendant and an entity

even Plaintiffs did not claim to have been employed by.

      Conversely, the one envelope that was sent by a Defendant in this matter –

RMRP Realty, LLC, and also provided by Plaintiffs as part of the record on summary


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judgment (DE 66-1 at p. 151) shows that it was mailed from within Florida, not from

New York.

      Anabely Acevedo testified at her deposition that she did not have any direct

communications with Defendants because she did not speak English. DE 45-4 at pp.

16:14-21; 19:17-20; 23:20-23; 26:10-18 Matthew Valentin testified at his deposition

that he did not have any direct communications with Defendants. DE 45-5 at pp.

77:2-20; 97:14 – 98:13; 101:2-16

      Neither Kebin Valentin, nor Anabely Acevedo or Matthew Valentin listed any

“Domestic Employee” tasks in response to interrogatories in this case. DE #73-2,

¶10; DE #73-3, ¶12; DE #73-4, ¶12

      Paragraph 3 of Plaintiffs’ Complaint alleged only that, “[A]t all times material

hereto, Plaintiffs engaged in interstate commerce on a regular and recurring basis

within the meaning of the FLSA including but not limited to interstate

communication with Defendants in New York” without any mention that they were

“domestic employees” or that they were traversing under the application of 29

U.S.C. §206(f). DE 1

   c. Standard of Review

      A District Court’s grant of summary judgment is reviewed de novo by the

Court. Patterson v. Ga. Pac., LLC, 38 F.4th 1336, 1345 (11th Cir. 2022)

(citing Chapman v. AI Transp., 229 F.3d 1012, 1023 (11th Cir. 2000)) (“We review


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de novo a district court's grant of summary judgment, applying the same legal

standards as the district court.”). Summary judgment is proper "if the movant shows

that there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law." Brown v. Nexus Bus. Sols., LLC, 29 F.4th 1315, 1317

(11th Cir. 2022) (citing Scantland v. Jeffry Knight, Inc., 721 F.3d 1308, 1310 (11th

Cir. 2013); Fed. R. Civ. P. 56(a))

   III.   SUMMARY OF THE ARGUMENT

      Plaintiffs’ appeal of the district court’s Order granting Defendants’ Motion

for Summary Judgment should be denied. The district court properly found, on the

evidence presented to it, that Plaintiffs did not satisfy their burden to show the

existence of a material issue of genuine fact as to their direct participation in

interstate commerce under the “individual coverage” theory of the FLSA or that the

entity Defendants had gross annual revenue of $500,000 or more in each of the

subject years, even if their incomes were stacked, in order to satisfy the requirements

for FLSA coverage under the “enterprise coverage” theory.

      Accordingly, for the reasons set forth below, the decision of the district court

should be affirmed.




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   IV.   ARGUMENT

a. Coverage Under the FLSA

      “The FLSA mandates that an ‘employee[]’ who is ‘engaged in interstate

commerce’ must be paid an overtime wage of one and one-half times his regular rate

for all hours he works in excess of forty hours per week.” Josendis v. Wall to Wall

Residence Repairs Inc., 662 F.3d 1292, 1298 (11th Cir. 2011) (citing 29 U.S.C.

§207(a)). “In order to be eligible for FLSA overtime, however, an employee must

first demonstrate that he is ‘covered’ by the FLSA.” Id. There are two types of FLSA

coverage: “First, an employee may claim ‘individual coverage’ if he regularly and

‘directly participat[es] in the actual movement of persons or things in interstate

commerce.’” Id. (citing Thorne v. All Restoration Servs., Inc., 448 F.3d 1264, 1266

(11th Cir. 2006)). “Second, an employee is subject to enterprise coverage if he is

‘employed in an enterprise engaged in commerce or in the production of goods for

commerce.’” Id. (citing 29 U.S.C. §207(a)(1)). “Commerce means ‘trade,

commerce, transportation, transmission, or communication among the several States

or between any State and any place outside thereof.’” Id. (citing 29 U.S.C. §203(b)).

“An ‘enterprise’ is the activities performed by a person or persons who are (1)

engaged in ‘related activities,’ (2) under ‘unified operation or common control,’ and

(3) have a ‘common business purpose.’” Id. (citing 29 U.S.C. §203(r)(1)).




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   “In relevant part, an enterprise is engaged in commerce or in the production of

goods for commerce if it

      (i) has employees engaged in commerce or in the production of goods
      for commerce, or that has employees handling, selling, or otherwise
      working on goods or materials that have been moved in or produced for
      commerce by any person; and

      (ii) is an enterprise whose annual gross volume of sales made or
      business done is not less than $500,000.”

   Id. (citing 29 U.S.C. §203(s)(1)(A)(i)-(ii)) (emphasis in the original)

   b. It is Plaintiffs’ Burden to Prove that FLSA Coverage Exists Even on
      Summary Judgment

      Even on summary judgment, the burden is on the Plaintiffs to show that they

are covered under the FLSA, not on the Defendants to show that Plaintiffs were not

covered. See, Whineglass v. Smith, 2013 U.S. Dist. LEXIS 71977, *28 (M.D. Fla.

May 3, 2013) (citing Josendis, 662 F.3d at 1298 (11th Cir. 2011). Specifically, “it is

not the defendants' burden to disprove enterprise coverage; it is the plaintiff's burden

to show that it exists. See, Whineglass, 2013 U.S. Dist. LEXIS 71977 at *29 (citing

United States v. Four Parcels of Real Property, 941 F.2d 1428, 1437-38 (11th Cir.

1991)); Hernandez v. Nanju Corp., 2008 U.S. Dist. LEXIS 35481, at *5 (S.D. Fla.

Apr. 30, 2008) (citing Thorne v. All Restoration Services, Inc., 448 F.3d 1264 (11th

Cir. 2006)).

      For purposes of defeating a motion for summary judgment, “evidence

consisting of one speculative inference heaped upon another [i]s entirely

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insufficient.” See, Whineglass, 2013 U.S. Dist. LEXIS 71977 at *31 (citing Josendis,

662 F.3d at 1318). In opposing summary judgment, “[A]ll affidavits must be based

on personal knowledge and must set forth facts that would be admissible under the

Federal Rules of Evidence.” Josendis, 662 F.3d at 1315 (citing Macuba v. DeBoer,

193 F.3d 1316, 1322-23 (11th Cir. 1999)) “The non-moving party cannot satisfy its

burden if the rebuttal evidence ‘is merely colorable, or is not significantly probative’

of a disputed fact.” Id. (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249-

50 (1986)) “At the summary judgment stage, ‘evidence,’ consisting of

one speculative inference heaped upon another, is entirely insufficient.” Id. at *1318

(citing Cordoba v. Dillard's, Inc., 419 F.3d 1169, 1181 (11th Cir 2005)). Stated

otherwise, "[I]nferences based upon speculation are not reasonable," and may not

defeat a motion for summary judgment. Solliday v. Fed. Officers, 413 Fed. Appx.

206, 207 (11th Cir. 2011) (citing Marshall v. City of Cape Coral, Fla., 797 F.2d 1555,

1559 (11th Cir. 1986)) Finally, “[C]onclusory, uncorroborated allegations by a

plaintiff in an affidavit or deposition will not create an issue of fact for trial sufficient

to defeat a well supported summary judgment motion.” Solliday, 413 Fed. Appx. at

207 (citing Earley v. Champion Int'l Corp., 907 F.2d 1077, 1081 (11th Cir. 1990).




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   c. The District Court Determined Correctly that Plaintiffs Did Not Come
      Forward with Evidence Beyond Speculation that They Participated
      Directly in Interstate Commerce

      “The Supreme Court has articulated that it is the intent of Congress to regulate

only activities constituting interstate commerce, not activities merely affecting

commerce.” Thorne v. All Restoration Servs., 448 F.3d 1264, 1266 (11th Cir. 2006)

(citing McLeod v. Threlkeld, 319 U.S. 491, 497 (1943)) “Therefore, for an employee

to be ‘engaged in commerce’ under the FLSA, he must be directly participating in

the actual movement of persons or things in interstate commerce by (i) working for

an instrumentality of interstate commerce, e.g., transportation or communication

industry employees, or (ii) by regularly using the instrumentalities of interstate

commerce in his work, e.g., regular and recurrent use of interstate telephone,

telegraph, mails, or travel.” Id. (citing 29 C.F.R. §776.23(d)(2); 29 C.F.R. §776.24);

Corwin v. Walt Disney World Co., 475 F.3d 1239, 1249 (11th Cir. 2007) (emphasis

added)

      As discussed below, much like the Plaintiff in Thorne, Appellants have

produced nothing to show that any of them, in fact, corresponded or communicated

with clients, vendors, or even office staff outside Florida on a regular and recurrent

basis. Similarly, just as in Thorne, the only evidence produced by Appellants here

demonstrated intrastate regular and recurrent communications with Ronald T.

Fatato, and no interstate communications.


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      Appellants do not contend that any of them worked for “an instrumentality of

interstate commerce, e.g., transportation or communication industry employees”.

Therefore, the first part of the test is not at play in this appeal. Instead, the focus of

Appellants’ appeal is on the second part: Appellants claim that they regularly used

the instrumentalities of interstate commerce in their work.

   i. Matthew Valentin and Anabely Acevedo

          A. Appellants’ Indirect Participation in Interstate Commerce Theory

      Matthew Valentin and Anabely Acevedo do not contend that the Court made

an error finding that they were not engaged directly in interstate commerce. Neither

do they highlight any evidence on the record that either of them did, in fact,

participate directly in interstate commerce on a regular and recurrent basis as part of

their duties. Instead, their appeal claims that the Court erred because they were

indirectly involved in interstate commerce: According to Matthew Valentin and

Anabely Acevedo, they communicated regularly with Defendants’ office in New

York through Kebin Valentin who was merely a conduit or an intermediary.

      This argument, however, ignores the requirement that, in order for “individual

coverage” to exist, an employee must be directly participating in the actual

movement of persons or things in interstate commerce by (i) working for an

instrumentality of interstate commerce, e.g., transportation or communication

industry employees, or (ii) by regularly using the instrumentalities of interstate


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commerce in his work, e.g., regular and recurrent use of interstate telephone,

telegraph, mails, or travel.” Thorne, 448 F.3d at 1266.

      Appellants do not provide any legal authority that supports their proposition

– or expansion of Congress’ clear intent – of individual coverage under the FLSA to

not only apply to direct participation, but also to indirect participation in interstate

commerce. Indeed, accepting Appellants’ illogical position would render almost all

employees covered under this vague “indirect” participation test they are proposing.

      As S.D. Fla. Chief Magistrate Judge Edwin G. Torres noted, rejecting a

similar argument in another case:

      Jaramillo fails to cite to any authority that has accepted an indirect
      participation theory for establishing individual coverage. While the
      language of the FLSA should be given a broad construction, expanding
      the requirement of "directly participating" to "helping to directly
      participate" could result in a never-ending rabbit hole inquiry of
      employees' indirect participation leading to another employee's
      eventual direct participation. This argument is thus unsound.

      Jaramillo v. Maoz, Inc., No. 20-20106-Civ-WILLIAMS/TORRES, 2021 U.S.

Dist. LEXIS 29537, at *7-8 (S.D. Fla. Feb. 16, 2021).

      While the holding in Jaramillo, is, of course, not binding on this Court, it

nevertheless illustrates succinctly the illogical nature of the expansion of coverage

the Appellants are asking this Court to establish against the intent of Congress.

      Appellants do not cite to a single authority stating that indirect interstate

communications are sufficient for “individual coverage” under the FLSA. Instead,


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Appellants list several DOL regulations, seemingly in support of this proposition.

However, they neglect to properly apply their alleged facts to these regulations.

       For example, Appellants cite 29 C.F.R. §779.112 (dealing with coverage of

Office employees). However, they do not claim that they were office employees and

they do not claim that they regularly and recurrently prepared or mailed letters,

checks, reports or other documents to out of state points. Thus, 29 C.F.R. §779.112,

is inapposite. This regulation may have been applicable to the St. Elien appeal (a

case Appellants’ counsel briefed, and in which the Appellant was an office

administrative assistant) but it has no relation to the Appellants here, who were

clearly not office employees, but were tasked with mowing a lawn, picking up litter,

unclogging sinks, and a variety of other blue-collar local maintenance tasks.

       Likewise, Appellants refer to a selected subpart of 29 C.F.R. §776.10 –

Employees participating in the actual movement of commerce. However, they ignore

the full text of that subpart, which states in full:

       (b) Employees whose work is an essential part of the stream of
       interstate or foreign commerce, in whatever type of business they are
       employed, are likewise engaged in commerce and within the Act's
       coverage. This would include, for example, employees of a warehouse
       whose activities are connected with the receipt or distribution of goods
       across State lines. Also, since “commerce” as used in the Act includes
       not only “transmission” of communications but “communication”
       itself, employees whose work involves the continued use of the
       interstate mails, telegraph, telephone or similar instrumentalities for
       communication across State lines are covered by the Act. This does not
       mean that any use by an employee of the mails and other channels
       of communication is sufficient to establish coverage. But if the
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      employee, as a regular and recurrent part of his duties, uses such
      instrumentalities in obtaining or communicating information or in
      sending or receiving written reports or messages, or orders for goods or
      services, or plans or other documents across State lines, he comes
      within the scope of the Act as an employee directly engaged in the work
      of “communication” between the State and places outside the State.

      29 C.F.R. §776.10 (emphasis added).

      Appellants clearly ignored the text of this subsection to the extent it is cited in

support of their proposition that Matthew Valentin and Anabely Acevedo’s alleged

indirect communications brought them under the FLSA because the regulation refers

to “employees whose work involves the continued use of the interstate mails,

telegraph, telephone or similar instrumentalities for communication across State

lines are covered by the Act” or those who “as a regular and recurrent part of his

duties, uses such instrumentalities in obtaining or communicating information or in

sending or receiving written reports or messages, or orders for goods or services, or

plans or other documents across State lines…” Id. Matthew Valentin and Anabely

Acevedo never claimed to do any of these tasks, let alone on a regular or recurrent

basis. In fact, they both admitted that they never communicated directly with the

Defendants. DE 45-4 at 16:14-21; 19:17-20; 23:20-23; 26:10-18; DE 45-5 at 77:2-

20; 97:14 – 98:13; 101:2-16. Thus, this regulation is completely inapposite as to

Matthew Valentin and Anabely Acevedo.

      Lastly, Appellants list a laundry list of examples in the Field Operations

Handbook for the Department of Labor’s Wage and Hour Division (2016) for this
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same proposition. However, Appellants did not provide any evidence on record that

Matthew Valentin or Anabely Acevedo prepared reports as part of their regular

activities as handyman’s assistant and a handyman’s wife in an eight-apartment

rental facility in Coral Springs, Florida.

      Appellants did not provide any evidence on record that Matthew Valentin or

Anabely Acevedo performed any surveys with questionnaires that were then

transmitted outside Florida as part of their regular activities as handyman’s assistant

and a handyman’s wife in an eight-apartment rental facility in Coral Springs, Florida.

      Appellants did not provide any evidence on record that Matthew Valentin or

Anabely Acevedo engaged in the preparation of blueprints, sketches, plans, and the

like, as part of their regular activities as handyman’s assistant and a handyman’s

wife in an eight-apartment rental facility in Coral Springs, Florida, or that any of

such items even existed or moved in interstate commerce.

      Appellants did not provide any evidence on record that Matthew Valentin or

Anabely Acevedo performed any recordkeeping activities, incident to the sending

and receiving of blueprints, sketches, plans that moved in interstate commerce, as

part of their regular activities as handyman’s assistant and a handyman’s wife in an

eight-apartment rental facility in Coral Springs, Florida.

      Appellants did not provide any evidence on record that Matthew Valentin or

Anabely Acevedo transmitted or prepared letters, bills, contracts, which were sent


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out of state, as part of their regular activities as handyman’s assistant and a

handyman’s wife in an eight-apartment rental facility in Coral Springs, Florida.

      Appellants did not provide any evidence on record that Matthew Valentin or

Anabely Acevedo engaged in the preparation of financial reports, statements,

correspondence, or other written material for transmittal across state lines, as part of

their regular activities as handyman’s assistant and a handyman’s wife in an eight-

apartment rental facility in Coral Springs, Florida.

      Finally, Appellants did not provide any evidence on record that Matthew

Valentin or Anabely Acevedo were news-gatherers, reporters, or clerical employees,

as part of their regular activities as handyman’s assistant and a handyman’s wife in

an eight-apartment rental facility in Coral Springs, Florida.

      In short, none of these items supports Appellants’ contention, that Congress’

intent to regulate only activities constituting interstate commerce, not activities

merely affecting commerce, or that an employee must be directly participating in the

actual movement of persons or things in interstate commerce by (i) working for an

instrumentality of interstate commerce, e.g., transportation or communication

industry employees, or (ii) by regularly using the instrumentalities of interstate

commerce in his work, e.g., regular and recurrent use of interstate telephone,

telegraph, mails, or travel should be expanded to include also indirect participation

on an irregular or non-recurrent basis as their facts can support, at best.


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      Thus, the lower tribunal did not err when it granted summary judgment for

the Defendants on the issue of “individual coverage” under the FLSA as to Matthew

Valentin or Anabely Acevedo.

         B. Appellants’ Newly-Raised on Summary Judgment “Domestic
            Employees” Argument

      During the pendency of the case in the lower tribunal, Plaintiffs/Appellants

never contended or alleged that they were covered under the FLSA as “domestic

employees.” Indeed, Paragraph 3 of Plaintiffs’ Complaint [DE 1] alleged only that,

“[A]t all times material hereto, Plaintiffs engaged in interstate commerce on a

regular and recurring basis within the meaning of the FLSA including but not limited

to interstate communication with Defendants in New York” without any mention

that they were “domestic employees” or that they were traversing under the

application of 29 U.S.C. §206(f).

      Further, in discovery, Matthew Valentin provided in response to Interrogatory

No. 12 an exhaustive and specific list consisted of sixty-four (64) items of the tasks

he claims to have performed. There was no mention of any “domestic service” work

done by Matthew Valentin. See, DE 73-4, at ¶12 Likewise, Anabely Acevedo’s

response to Interrogatory No. 12, asking for her tasks, mentioned only helping Kevin

Valentin and Matthew Valentin in the tasks they performed as listed in their

interrogatory answers, and her alleged “indirect” communications with the



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Defendants, without any mention of any “domestic service” she provided for the

Defendants. See, DE 73-3, at ¶12

      However, when faced with lack of coverage issue on summary judgment,

Matthew Valentin and Anabely Acevedo raised a new claim – that they were covered

as “domestic service employees” after they did not mention it at all during the

pleading or discovery phases of the case and attempted to support this new claim by

creating new evidence in the form of self-serving Declarations that negate their

previous responses in their interrogatories. On Appeal, the Appellants are not arguing

that this allegation was raised at any time during the pendency of the case, or that

they sought an amendment to add such an allegation – because they never did.

      As an initial matter, procedurally, “[a] plaintiff may not amend her complaint

through argument in a brief opposing summary judgment.” See, Cardenas v. Aragon

Towers Condo. Ass’n, 451 Fed. Appx. 898, 900 (11th Cir. 2012) (citing Gilmour v.

Gates McDonald & Co., 382 F.3d 1312, 1315 (11th Cir. 2004)) “Rather, [a]t the

summary judgment stage, the proper procedure for plaintiffs to assert a new claim is

to amend to complaint in accordance with Fed. R. Civ. P. 15(a).” Id. Here, unlike the

Plaintiff in Cardenas, Appellants never even sought to amend their Complaint to add

a claim for FLSA coverage under 29 U.S.C. §206(f) and are unable to advance this

new coverage theory on summary judgment or in this appeal.




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         Substantively,   Appellants’   position   is   also   without   merit.   "[T]he

term domestic service employment refers to services of a household nature

performed by an employee in or about a private home ... of the person by whom he

or she is employed." Cardenas, 451 Fed. Appx. at 900 (citing 29 C.F.R. §552.3)

(emphasis added) As were the facts in Cardenas, here, too, Appellants’ position is

untenable because they were not employed at Defendants’ residence. Rather, the

evidence on summary judgment is clear that they performed their regular and

recurrent services at an 8-unit rental complex owned by one of the entity Defendants

– one of which was even Plaintiffs’ residence – and at a 7-unit storage/warehouse

property owned by on the entity Defendants. They may or may not have provided

some help at a residence, but the record on before the court on summary judgment

did not contain evidence that they did so on a regular and recurrent basis as part of

their job duties at the rental property or at the warehouse. Therefore, coverage under

29 U.S.C. §206(f) is inapplicable to them.

   ii.      Kebin Valentin

         Kebin Valentin contends that the lower Court erred determining that he did

not come forward with evidence beyond mere speculation, that, as part of his work

duties, he repeatedly traveled to and from Defendants’ job sites outside of Florida or

used an item moving in interstate commerce.




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      It is undisputed that Kebin Valentin never traveled outside of Florida for work

purposes.

      The lower Court, however, also found that his contention that he relayed

information to Defendants outside of Florida was also not supported by the record.

DE 82 at p. 18. Lastly, the lower Court found that Kebin Valentin “did not make a

showing that he directly engaged in interstate commerce as a part of his

responsibilities and, thus, cannot survive summary judgment on this record” and that

“Plaintiffs produced nothing to create a material issue of genuine fact as to his

“direct[] participat[ion]” in interstate commerce under an individual coverage

theory.” Id.

      On Summary Judgment, Appellants presented the lower Court with the

following evidence by Kebin Valentin in support of their position:

      A Declaration by Kebin Valentin [DE 66-1]

      Followed    by    140    pages   of    documents     consisting     of   emails,

statements/invoices, text messages with Ronald T. Fatato within Florida, images of

the apartments and work being done in some, one window envelope mailed from

Thomas Fatato Realty Corp. (a non-Defendant) in New York below a check stub

payable to “Jessica’s Cleaning Service LLC” (DE 66-1, Exhibit P, p. 132) and an

envelope addressed to Kevin Valentin from RMRP Realty LLC mailed out of




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Miami, Florida (DE 66-1, Exhibit S, p. 151). That is all the evidence that was

provided by Mr. Valentin in support of his position on Summary Judgment.

      In three years, Mr. Valentin has managed to produce one text message

directing him to call New York to resolve an issue with his own check (not a work-

related task or instruction), one window envelope from a non-Defendant (thus,

immaterial) that he purportedly received, and one envelope mailed to him by a

Defendant from a Miami, FL zip code. He has provided nothing else to support his

self-serving claim that he “could recall that I regularly and recurrently (3-5 times per

week) communicated with two of Defendants’ employee who were based in the state

of New York, namely Maria Torres and Tony Quarantaa…” Not only is there

absolutely no evidence on the record to support a claim by this maintenance person,

who listed 65 maintenance tasks as his “regular and recurrent” tasks, that he

“regularly and recurrently” communicated with anyone outside Florida for work

purposes, the evidence that is on the record overwhelmingly negates his statement:

while he provided dozens of pages of emails and texts with Ronald T. Fatato (who

was in Florida), Kebin Valentin failed to provide any evidence that he communicated

with anyone other than Ronald T. Fatato except for one time.

      While he states that he communicated regularly and recurrently with Tony,

the evidence shows that he was asked to do it once during his employment (why

would Ronald Fatato ask him to do it once if he communicated with Tony on a


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regular and recurrent basis?) and the invoices from the Plaintiff were forwarded by

Ronald Fatato to Tony (why would they need to be forwarded by Ronald Fatato if

Kebin Valentin communicated with Tony regularly and recurrently?) The following

discussion may explain why, magically, Plaintiff stated that he communicated with

New York on a regular and recurrent basis even though nothing in his employment

supports it and everything negates it:

       Appellants rely heavily on this Court’s ruling in St. Elien v. All Cty. Envtl.

Servs., 991 F.3d 1197 (11th Cir. 2021) in support of their appeal – a case in which

the same counsel represented the Plaintiff; however, as discussed below, the facts of

that case differ materially from the facts herein and, thus, it is distinguishable.

       In St. Elien, Plaintiff – an administrative assistant – testified that she spoke

three to five times a week (just as Mr. Valentin stated in his Declaration here) with

Defendant’s out of state vendors and with out of state customers regarding pest-

control services to be provided locally at their properties. Without more, it would be

reasonable for an administrative assistant to make such calls, if the jury were to

believe it.

       Here, Appellants have not provided any support for their claim and, unlike the

testimony by an administrative assistant working for an employer who has out of

state clientele and vendors, Defendants’ clients here were residents in the same

apartment building as Plaintiffs, Mr. Valentin’s supervisor was local, the evidence


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shows that he communicated with his supervisor on a regular and recurrent basis,

and Mr. Valentin was not an administrative assistant. Mr. Valentin was a

maintenance person, maintaining seven apartments aside from his own as well as a

row of warehouses, his regular and recurrent tasks (as listed in his own Declaration)

did not include making phone calls. In othernlike theine, he had no reason to

communicate with anyone outside Florida on a regular and recurrent basis under

these facts.

      The text and email records provided by Mr. Valentin on summary judgment

beg the questions of, 1) if he communicated regularly and recurrently with Mr. Fatato

who was in South Florida, why would there be a need for him to speak regularly and

recurrently with anyone in New York? and 2) If the communications with New York

were regular and recurrent, as Mr. Valentin claims with no support, why would Mr.

Fatato need to instruct him on one specific occasion to call Tony” in New York or

forward his invoices to New York?

      These questions highlight the factual differences between the St. Elien case

and this case. In St. Elien, the surrounding facts of Plaintiff’s employment supported

her testimony in a way that a reasonable jury could have found that she “regularly

and recurrently the instrumentalities of interstate commerce in her work”: she was

an administrative assistant working for a company that had out of state customers

and vendors. Here, conversely, all the other facts negate the self-serving statement


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of Mr. Valentin: he was a maintenance employee, maintaining local apartments

(where he resided) and a row of warehouses, he had a local supervisor with whom

and he regularly and recurrently communicated. On the one occasion he had a

question about his check, he was specifically instructed to call New York. These

facts do not support Mr. Valentin’s self-serving statement – they negate it. Mr.

Valentin could have produced his cell phone records to indicate the frequency of

calls to New York, but he did not. The record before the district court was simply

devoid of any evidence to show that a local maintenance person working on a

handful of apartments and a handful of warehouses was anything other than a

maintenance person or that he communicated or – unlike the Plaintiff in St. Elien –

even had any reason to communicate with anyone across state line on a regular and

recurrent basis as part of his job duties, when all the evidence presented shows the

exact opposite occurred.

      With nothing else provided on the record, there is simply no reasonable basis

for a jury to find that Mr. Valentin regularly and recurrently used the

instrumentalities of interstate commerce in his work and the District Court did not

err when it found that “Plaintiffs produced nothing to create a material issue of

genuine fact as to his ‘direct participat[ion]’ in interstate commerce under an

individual coverage theory” DE 82 at p. 13.




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   d. The District Court Determined Correctly that Plaintiffs Did Not Come
      Forward with Evidence Beyond Speculation that “Enterprise
      Coverage” Existed

      Appellants’ initial brief does not argue that the lower court erred in finding

that “Enterprise Coverage” under the FLSA did not exist. Therefore, they have

waived this issue. Fuentes-Rangel v. Woodman, 617 Fed. Appx. 920, 921 (11th Cir.

2015) (citing Greenbriar, Ltd. v. City of Alabaster, 881 F.2d 1570, 1573 (11th Cir.

1989) (“[Appellant] has waived this issue by failing to argue it in its brief on

appeal.”) However, even if Appellants had not waived this argument, the proper

conclusion would be that the lower court did not err when it so ruled.

      As stated above, on Summary Judgment, a Plaintiff cannot satisfy his burden

to demonstrate that the $500,000 annual gross revenue requirement based on

unsupported speculation.

      Here, as correctly found by the lower court, Appellants did not provide any

evidence beyond unsupported speculation by Kebin Valentin, coupled with hearsay

speculation by Matthew Valentin, that any of the entity Defendants singularly, or

even combined – or stacked – had gross revenue of $500,000.00 in any of the

relevant years.

      In doing so, they failed to rebut the direct and specific evidence submitted by

the Defendants on the issue. DE 45-1 at ¶¶10-13 (as to RMRP, Realty, LLC), DE

45-1 at ¶¶21-24 (as to T.J.F. Realty Corp.), DE 45-2 at ¶¶5-8 (as to Interstate Sales


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Corp.), and DE 45-1 at ¶¶31-34 (as to 1245, LLC), as well as the income tax returns

for each of these entities (DE 45-1, at pp. 21, 35, 49, 83, 113, 132, 157, 179, 197,

200; and DE 45-2, at pp. 27, 28, 69). Speculative and unsupported statements, such

as the ones made by Matthew Valentin and Kebin Valentin here lack specificity and

appear to be based solely on assumptions without direct knowledge of any under-

reporting of annual sales or business done. Therefore, they do not show a genuine

issue of material fact as to the income of the entities and summary judgment is

appropriate. Arilus v. Diemmanuele, 522 Fed. Appx. 881, 883-84 (11th Cir. 2013).

   V.      CONCLUSION

        For the foregoing reasons, the district court’s Order granting Defendants’

Motion for Summary Judgment [DE 82] and the subsequent Judgment in favor of

Defendants [DE 83] should be affirmed. The district court correctly found that, after

the conclusion of discovery, Plaintiffs have failed to come forward with sufficient

evidence on the record, to demonstrate that “individual coverage” under the FLSA

applied to any of them or that the Defendants were subject to “enterprise coverage”

under the FLSA. The district court made no error in rejecting Plaintiffs’ position

under the facts presented to it. Therefore, the district court’s decision below should

be affirmed.




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                        CERTIFICATE OF COMPLIANCE

        The undersigned certifies that the foregoing Brief of Appellee complies with

the type-volume limitations of Fed. R. App. P. 32(a)(7)(B) because it contains 6,415

words, excluding the parts of the Brief exempted by Fed. R. App. P. 32(f).

        The undersigned further certifies that this Brief of Appellee complies with the

typeface requirements of Fed. R. App. P. 32(a)(5) and the type style requirements of

Fed. R. App. P. 32(a)(6) because this Brief has been prepared in a proportionally

spaced typeface using Microsoft WORD in 14 point size and Times New Roman

font.


                                               By:/s/ Adi Amit
                                                      Adi Amit
                                                      Fla. Bar No. 35257




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                  CERTIFICATE OF FILING AND SERVICE

      I hereby certify that this 11th day of January, 2023, I caused this Brief of

Appellees to be filed electronically with the Clerk and the Court using the CM/ECF

System, which will send notice of such filing to the following registered users: Elliot

Kozolochyk, Koz Law, P.A., ekoz@kozlawfirm.com.

      I further certify on this 11th day of January, 2023, I caused the required number

of bound copies of the foregoing Brief of Appellee to be filed via FedEx Overnight

delivery with the Clerk of this Court and by U.S. Regular Mail to Counsel for

Appellant.

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